                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                     ___________________

                                         No: 23-2411
                                     ___________________

State of West Virginia; State of North Dakota; State of Georgia; State of Iowa; State of Alabama;
 State of Alaska; State of Arkansas; State of Florida; State of Indiana; State of Kansas; State of
Louisiana; State of Mississippi; State of Missouri; State of Montana; State of Nebraska; State of
   New Hampshire; State of Ohio; State of Oklahoma; State of South Carolina; State of South
  Dakota; State of Tennessee; State of Utah; State of Virginia, The Commonwealth of Virginia;
                                        State of Wyoming

                                             Plaintiffs - Appellees

    American Farm Bureau Federation; American Petroleum Institute; American Road and
Transportation Builders Association; Associated General Contractors of America; Cass County
    Farm Bureau; Leading Builders of America; National Apartment Association; National
Association of Home Builders, of the United States; National Association of Realtors; National
     Cattlemen's Beef Association; National Corn Growers Association; National Mining
Association; National Multifamily Housing Council; National Pork Producers Council; National
 Stone, Sand, and Gravel Association; North Dakota Farm Bureau; Public Lands Council; U.S.
                                 Poultry and Egg Association

                                            Intervenors - Appellees

                                                v.

    U.S. Environmental Protection Agency; Michael S. Regan, In His Official Capacity as
 Administrator of the U.S. Environmental Protection Agency; U.S. Army Corps of Engineers;
Michael L. Connor, In His Official Capacity as Assistant Secretary of the Army for Civil Works;
   LTG Scott A. Spellmon, In His Official Capacity as Chief of Engineers and Commanding
                           General, U.S. Army Corps of Engineers

                                           Defendants - Appellants

Chickaloon Village Traditional Council; Rappahannock Tribe; Tohono O'Odham Nation; White
                          Earth Band of Minnesota Chippewa Tribe

                                        Intervenors
______________________________________________________________________________

         Appeal from U.S. District Court for the District of North Dakota - Eastern
                                  (3:23-cv-00032-DLH)
______________________________________________________________________________

                                         JUDGMENT




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       Appellant's motion to dismiss the appeal is granted. The appeal is hereby dismissed in

accordance with the Federal Rules of Appellate Procedure 42(b).

       The Court's mandate shall issue forthwith.

                                                    October 10, 2023




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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